                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 10-0090
 vs.                                                ORDER REGARDING
                                                 MAGISTRATE’S REPORT AND
 ABRAHAM ROMERO-GEMBE,                              RECOMMENDATION
                                                 CONCERNING DEFENDANT’S
                                                      GUILTY PLEAS
               Defendant.
                                ____________________


                      I. INTRODUCTION AND BACKGROUND
       On January 12, 2011, a two-count Third Superseding Indictment was returned
against the defendant Abraham Romero-Gembe. On March 29, 2011, the defendant
appeared before United States Magistrate Judge Jon S. Scoles and entered pleas of guilty
to Counts 1 and 8 of the Third Superseding Indictment. On March 29, 2011, Judge Scoles
filed a Report and Recommendation in which he recommended that defendant’s guilty pleas
be accepted. On March 29, 2011, Defendant filed a Waiver of Objections to Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Scoles'
recommendation to accept defendant’s pleas in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the

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              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of March 29,
2011, and accepts defendant’s pleas of guilty in this case to Counts 1 and 8 of the Third
Superseding Indictment.
       IT IS SO ORDERED.
       DATED this 29th day of March, 2011.




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